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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK


 LONG ISLAND ROLLER REBELS,

                    Plaintiff,

       v.                                             Case No. 2:24-cv-02721 (ARR/LGD)


 BRUCE BLAKEMAN in his official capacity
 as NASSAU COUNTY EXECUTIVE, and
 COUNTY OF NASSAU,

                    Defendants.



                 PLAINTIFF’S APPLICATION FOR FEES AND COSTS




                                            NEW YORK CIVIL LIBERTIES UNION
                                                FOUNDATION

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                                     PRELIMINARY STATEMENT

         In response to an unlawful executive order that barred them and others similarly situated

 from using Nassau County facilities because of their transgender-inclusive policies, the plaintiff

 Long Island Roller Rebels (“Roller Rebels”) sought expedited relief in state court striking down

 that executive order. Represented by counsel from the New York Civil Liberties Union—and

 relying on counsel’s unique expertise in litigating both state-court Article 78 petitions and civil

 rights cases defending the rights of transgender clients—the Roller Rebels have now obtained the

 relief they sought. See Declaration of Robert Hodgson, Ex. 8 (state court order, dated May 10,

 2024, vacating and permanently enjoining executive order). Because the defendants improperly

 removed this case, the Roller Rebels were also forced to litigate a motion to remand.

         In its Opinion and Order remanding this matter dated April 25, 2024, ECF 11 (“Remand

 Order”), this Court ordered the defendants to pay “any actual expenses, including attorney’s fees,

 incurred . . . as a result of removal.” Pursuant to that Remand Order, the Roller Rebels

 respectfully request that the Court award $11,765.38 in attorney’s fees for 30 hours of attorney

 time, along with $14.85 in costs,1 for a total of $11,780.23. This amount, which reflects

 voluntary reductions the Roller Rebels have made in the exercise of prudent billing judgment,

 and which relies on rates that fall well within the range awarded in recent years in similar cases,

 is reasonable and should be granted in full.

                                       FACTUAL BACKGROUND

         This Court summarized the background of this matter in its Remand Order. See id. at 1-3.

 The Roller Rebels here summarize certain facts relevant to their fees application.




 1
  The NYCLU spent $14.85 for printing and mailing the Court a courtesy copy of Plaintiff’s motion to remand. See
 Hodgson Decl. ¶ 18, id. Ex. 7.

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        The defendant Bruce Blakeman issued Executive Order 2-2024 (the “Order”) on

 February 22, 2024, with no prior warning to the public of his intention to do so. Pet. ¶ 26, ECF 1-

 1. In response, the Roller Rebels assembled their case challenging the Order and seeking

 expedited relief in a little over two weeks. See id. They obtained an expedited briefing and

 hearing schedule via Order to Show Cause, with a preliminary injunction hearing set for April

 15, 2024. See ECF 1-25. On the eve of that hearing, the defendants removed the case. See ECF 1.

        The defendants’ timing and conduct in removing this action required an expedited

 response from the Roller Rebels’ counsel and reasonably led counsel to expend additional hours

 on the matter than would otherwise be spent on a motion to remand. For example, on the

 afternoon of Thursday, April 11, the defendants filed their Notice of Removal and Notice of

 Related Case in this Court. ECF 1 at ¶ 3. Because they did not alert the Roller Rebels’ counsel to

 their filing on April 11—the defendants initially listed the Roller Rebels as “pro se” on ECF,

 directing notice for ECF 1 to “info@longislandrollerrebels.com,” and only added the Roller

 Rebels’ counsel on April 12 after being instructed to file a Civil Cover Sheet by the

 clerk, see ECF 2—the Roller Rebels’ counsel was first alerted to the filing by their client.

 Hodgson Decl. ¶ 20. Accordingly, with a hearing scheduled for Monday, April 15, counsel spent

 time on April 11 and early April 12 researching whether removal had been properly effectuated

 and drafting communications to counsel for the defendants asking whether and when they

 planned to file notice of their removal in the state court, since that court’s jurisdiction would

 continue until that point. See id. ¶¶ 21-23; 28 U.S.C. 1446(d). Only after Roller Rebels’ counsel’s

 email and voice messages to defendants’ counsel—and letter to the state court alerting it to the

 defendants’ as-yet-incomplete federal removal—during the early afternoon hours of Friday, April

 12, see Hodgson Decl. ¶¶ 21-23, did the defendants’ counsel file, at 2:25pm, a notice of removal



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 in state court, prompting that court to call a telephonic hearing with all counsel to understand the

 effect of the defendants’ removal on the April 15 hearing, id. ¶ 24.

         Concurrent with removal, the defendants also sought to have this action related to the

 then-pending action in Blakeman v. James, Case No. 2:24-cv-01655. See ECF 1 at ¶ 6. Because

 the combination of the defendants’ removal action and their request to relate raised the

 possibility that the defendants were attempting to force the recusal of the judge assigned to that

 case,2 the Roller Rebels’ counsel reasonably spent time researching the law and local procedure

 governing case relation, see Hodgson Decl. ¶ 25—both to inform their remand motion and to

 include in their letter filed in this Court on April 15, 2024, opposing relation. See ECF 6.

         The Roller Rebels filed their motion to remand on April 18, 2024, see ECF 7, and this

 Court granted the motion on April 25, 2024, see Remand Order. In granting the Roller Rebels’

 request for attorney’s fees, the Court held that “there is no objectively reasonable basis for the

 removal of this action” and found “it difficult to view defendants’ removal of this case as

 anything other than a delay tactic.” Id. at 2, 5. Because the parties were unable to resolve the

 issue of fees, the Roller Rebels’ drafted this application and supporting documents to inform the

 court of the “actual expenses, including attorney’s fees, incurred by plaintiff as a result of

 removal.” Removal Order at 5; see also ECF 12.

         Upon remand, the state court re-calendared its hearing for May 7, 2024, and it issued a

 decision vacating and permanently enjoining the Order on May 10, 2024. See Hodgson Decl. ¶

 26; id. Ex. 8.



 2
   On April 12, the same day the defendants removed this case and sought relation to Blakeman v. James, Defendant
 Blakeman referred to Judge Nusrat Choudhury as “a federal judge with a background as a Civil Liberties Union
 lawyer,” seeming to draw a direct connection between her prior employer and counsel for the Roller Rebels. See Tim
 Balk, Judge dismisses Nassau County suit, NY DAILY NEWS, Apr. 12, 2024, available at
 https://www.nydailynews.com/2024/04/12/judge-dismisses-nassau-county-suit-against-ag-tish-james-centered-on-
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                                                   ARGUMENT

          The attorney’s fees sought by the Roller Rebels—$11,765.38—are reasonable. Courts in

 this district “use what is commonly referred to as the ‘lodestar’ method to calculate a

 presumptively reasonable fee, which involves multiplying the number of hours reasonably

 expended on the litigation by a reasonable hourly rate.” Agudath Israel of Am. v. Hochul, 2021

 WL 5771841, at *4 (E.D.N.Y. Dec. 6, 2021), aff'd, No. 22-38, 2023 WL 2637344 (2d Cir. Mar.

 27, 2023); see also Arbor Hill Concerned Citizens Neighborhood Ass'n v. Cnty. of Albany &

 Albany Cnty. Bd. of Elections, 522 F.3d 182, 183 (2d Cir. 2008).3

          Here, the Roller Rebels’ counsel has requested rates within the range found to be

 reasonable for civil rights litigators in recent cases in this forum, and they have voluntarily

 reduced their hours billed to align with the amount of time courts in this Circuit have held to be

 reasonable for simple remand motions. Accordingly, the award they seek is reasonable and

 warranted.

     I.       The hourly rates requested by the Roller Rebels’ counsel are reasonable.

          The first component of the reasonable-fee calculation is determining a reasonable hourly

 rate, or “what a reasonable, paying client would be willing to pay.” Arbor Hill, 522 F.3d at 184.4

 In determining a reasonable hourly rate, district courts “consider[] all pertinent factors, including



 3
   The Court may “adjust the presumptively reasonable fee when it ‘does not adequately take into account a factor
 that may properly be considered in determining a reasonable fee.’” Agudath, 2021 WL 5771841, at *4 (quoting Lilly
 v. City of N.Y., 934 F.3d 222, 230 (2d Cir. 2019)).
 4
   In determining what a reasonable, paying client would be willing to pay, the Court “should . . . consider factors
 including, but not limited to, the complexity and difficulty of the case, the available expertise and capacity of the
 client’s other counsel (if any), the resources required to prosecute the case effectively (taking account of the
 resources being marshaled on the other side but not endorsing scorched earth tactics), the timing demands of the
 case, whether an attorney might have an interest (independent of that of his client) in achieving the ends of the
 litigation or might initiate the representation himself, whether an attorney might have initially acted pro bono (such
 that a client might be aware that the attorney expected low or non-existent remuneration), and other returns (such as
 reputation, etc.) that an attorney might expect from the representation.” Arbor Hill, 522 F.3d at 184.


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 the Johnson factors.”5 Lilly v. City of New York, 934 F.3d 222, 230 (2d Cir. 2019). And the

 Second Circuit’s “‘forum rule’ generally requires use of ‘the hourly rates employed in the district

 in which the reviewing court sits in calculating the presumptively reasonable fee.’” Bergerson v.

 N.Y. State Office of Mental Health, 652 F.3d 277, 290 (2d Cir. 2011) (quoting Simmons v. New

 York City Transit Auth., 575 F.3d 170, 174 (2d Cir. 2009)).6

          The hourly rates sought for the work of the Roller Rebels’ counsel in this litigation are

 commensurate with rates awarded in civil rights litigation in the Eastern District of New York

 and reasonable under the Johnson factors. Here, the Roller Rebels request that their counsel’s

 work be compensated at the following rates.


                   Name                                      Title                                  Rate
                Molly Biklen                       Deputy Legal Director                            $575
               Robert Hodgson                      Assistant Legal Director                         $500
               Gabriella Larios                         Staff Attorney                              $275


          These rates are consistent with rates that have been awarded in other civil rights litigation

 in this district for attorneys with comparable levels of experience—and in light of the effect of

 inflation, see HVT, Inc. v. Port Auth. of New York & New Jersey, 2023 WL 5441898, at *5

 (E.D.N.Y. Aug. 22, 2023) (using “the Consumer Price Index inflation calculator available from




 5
   The so-called “Johnson factors,” developed by the Fifth Circuit in Johnson v. Georgia Highway Express, Inc., 488
 F.2d 714 (5th Cir. 1974), are as follows: (1) the time and labor required; (2) the novelty and difficulty of the
 questions; (3) the level of skill required to perform the legal service properly; (4) the preclusion of other
 employment by the attorney due to acceptance of the case; (5) the attorney’s customary hourly rate; (6) whether the
 fee is fixed or contingent; (7) the time limitations imposed by the client or the circumstances; (8) the amount
 involved in the case and the results obtained; (9) the experience, reputation, and ability of the attorneys; (10) the
 “undesirability” of the case; (11) the nature and length of the professional relationship with the client; and (12)
 awards in similar cases. Id. at 717–19.
 6
  Although the NYCLU maintains offices in the Southern District of New York and likely would be entitled to out-
 of-district rates, see Hodgson Decl. ¶ 3, the Roller Rebels are voluntarily seeking in-district rates at a discount to the
 rates they ordinarily recover in the Southern District.


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  the U.S. Bureau of Labor Statistics”7 to “calculate the impact of inflation” on in-district rates),

  adopted by 2023 WL 6035673 (E.D.N.Y. Sept. 15, 2023), they appear to be lower than the

  inflation-adjusted rates in several cases. See, e.g., Agudath, 2021 WL 5771841, at *7, *9 (in

  2021, awarding hourly rate of $600 for attorney with 22 years’ experience, $450 for attorney

  with 13 years’ experience, $350 for an associate with six years’ experience, and $200 for an

  associate with two years’ experience “who does not have experience litigating” the type of claim

  at issue in that case);8 Ctr. for Popular Democracy v. Bd. of Governors of Fed. Rsrv. Sys., 2021

  WL 4452202, at *11 (E.D.N.Y. Sept. 29, 2021) (in 2021, awarding rate of $575 to attorney with

  27 years’ experience, $515 to attorney with 13 years’ experience, $450 to attorney with 11 years’

  experience, $360 to attorney with 6 years’ experience).9 In 2019, a court in this district awarded

  attorneys from the New York Civil Liberties Union the following hourly rates: $600 for the

  Legal Director with 51 years’ experience; $400 for an attorney with 11 years’ experience; and

  $300 for an attorney who worked on the case from the time he was a new attorney through to its

  conclusion 6 years after his graduation. Centro de la Comunidad Hispana de Locust Valley v.

  Town of Oyster Bay, 2019 WL 2870721, at *8 (E.D.N.Y. June 18, 2019), adopted by 2019 WL

  2869150 (E.D.N.Y. July 3, 2019). Using the CPI Inflation Calculator, those rates in March 2024,

  the most recent date available, would be equal to $731.62, $487.75, and $365.81, respectively.

           Ms. Biklen, the Associate Legal Director of the NYCLU, is a 2004 graduate of Columbia

  Law School. She has 19 years’ legal experience with complex federal litigation, including 16


  7
   U.S. Bureau of Labor Statistics, CPI Inflation Calculator, available at
  https://www.bls.gov/data/inflation_calculator.htm.
  8
   Using the CPI Inflation Calculator as of March 2024, the most recent date available, those rates would be as
  follows: $600 -> $672.26; $450 -> $504.12; $350 -> $392.09; $200 -> $224.05.
  9
   Using the CPI Inflation Calculator as of March 2024, the most recent date available, those rates would be as
  follows: $575 -> $654.70; $515 -> $586.38; $450 -> $512.37; $360 -> $409.90.


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  years litigating employment and civil rights cases in federal court and two years of clerking in

  federal district court for the Hon. Lewis A. Kaplan and at the Second Circuit for the Hon. Sonia

  Sotomayor. See Hodgson Decl. ¶¶ 10-12; id. Ex. 3. Ms. Biklen previously served as a trial

  attorney, senior trial attorney, and supervisor at the U.S. Department of Labor, Office of the New

  York Regional Solicitor, where she litigated cases since 2009. Id. Ms. Biklen regularly teaches

  continuing legal education on federal civil litigation. Id.

         Mr. Hodgson, the Assistant Legal Director of the NYCLU and its Director of LGBTQ

  Rights Litigation, is a 2012 graduate of Harvard Law School. Since clerking in federal district

  court for the Hon. David O. Carter, he has specialized in LGBTQ rights litigation in New York

  (first as a Skadden Fellow, and then as the NYCLU’s lead attorney litigating on behalf of

  LGBTQ clients), including as part of the NYCLU and ACLU team that represented Donald

  Zarda before the Supreme Court in Zarda v. Altitude Express, a companion case to Bostock v.

  Clayton County, which established the applicability of Title VII antidiscrimination protections to

  LGBTQ people. See Hodgson Decl. ¶¶ 4-5; id. Ex. 1. He has also led or supervised litigation in

  more than two dozen state court petitions—like this case—seeking Article 78 relief against

  municipal governments. See id. His work routinely includes presenting CLEs and consulting on

  state and local antidiscrimination legislation, regulations, policies, trainings, and guidance

  regarding the rights of LGBTQ people in New York. See id.

         Ms. Larios is a 2020 graduate of New York University. She joined the NYCLU that year

  as an Equal Justice Works Legal Fellow with a project focused on litigating on behalf of people

  facing anti-LGBTQ discrimination and barriers to accessing health care or their reproductive

  rights. She has litigated several cases in state and federal court on behalf of transgender clients,

  and for several years she has regularly developed and presented CLEs and trainings to attorneys



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  regarding the rights of LGBTQ people in New York and nationwide. See Hodgson Decl. ¶¶ 13-

  15, Ex. 5. While at the NYCLU, she has also been counsel in numerous complex civil rights

  cases, including class actions, on behalf of people facing discrimination and abuse from

  municipal defendants. See id.

          The rates requested by the Roller Rebels counsel are thus consistent with rates awarded in

  this district in civil rights cases, adjusted for inflation and involving attorneys with similar levels

  of experience. Particularly in light of the rates awarded in this district to NYCLU attorneys as

  recently as 2019, see Centro de la Comunidad Hispana, 2019 WL 2870721, at *8, these rates are

  reasonable.

          Several of the Johnson factors also support the Roller Rebels’ requested rates, beginning

  with the “results obtained” in this litigation. Lilly, 934 F.3d at 228. “The most critical factor in a

  district court’s determination of what constitutes reasonable attorneys’ fees in a given case is the

  degree of success obtained by the plaintiff.” Barfield v. N.Y.C. Health & Hosps. Corp., 537 F.3d

  132, 152 (2d Cir. 2008) (internal quotation marks omitted)). Here, the Roller Rebels’ counsel

  promptly succeeded in remanding their case back to state court, and then nearly-as-promptly

  obtained the remedy they sought in that forum.

          In addition, the “time limitations imposed by the client or the circumstances,” Lilly, 934

  F.3d at 228, required the Roller Rebels’ counsel to work as quickly as possible to strike down an

  unprecedented discriminatory order that took effect immediately and without warning on

  February 22 and prevented the Roller Rebels from accessing public facilities beginning with

  scheduled events set to take place in mid-April. See ECF 1-1 at ¶ 65. The defendants’ improper

  removal, which stripped the state court of jurisdiction days before it was scheduled to hear

  arguments on the Roller Rebels’ request for expedited relief, required counsel to work even more



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  quickly to obtain a swift remand and seek a new hearing date before the state court as soon as

  possible after its original April 15 date. See Hodgson Decl. ¶¶ 20-26.

           Finally, the experience, reputation, and ability of the Roller Rebels’ counsel have been

  material to the success of this action and support their requested rates. See Lilly, 934 F.3d at 228.

  Counsel have significant experience litigating civil rights cases—in particular LGBTQ rights

  cases involving complex strategic questions regarding the availability of relief under possible

  state or federal claims—as well as state court Article 78 petitions against municipalities

  including Nassau, see Hodgson Decl. ¶¶ 5-15. That experience has informed and aided the Roller

  Rebels’ counsel in navigating the defendants’ unorthodox litigation strategies throughout this

  case, including by responding quickly and successfully to their improper removal action.

     II.      The hours expended by the Roller Rebels’ counsel are reasonable.

           The second component of the reasonable-fee calculation is “the number of hours

  reasonably expended on the litigation.” Arbor Hill, 522 F.3d at 186 (quoting Hensley v.

  Eckerhart, 461 U.S. 424, 433 (1983)). The burden is “on the party seeking an award of fees to

  ‘submit sufficient evidence to support the hours worked and the rates claimed.’” Centro de la

  Comunidad Hispana, 2019 WL 2870721, at *3 (quoting Hugee v. Kimso Apartments, LLC, 852

  F. Supp. 2d 281, 298 (E.D.N.Y. 2012)). In evaluating the reasonableness of the hours expended

  on a case, the relevant inquiry for the Court “is not whether hindsight vindicates an attorney’s

  time expenditures, but whether, at the time the work was performed, a reasonable attorney would

  have engaged in similar time expenditures.” Grant v. Martinez, 973 F.2d 96, 99 (2d Cir. 1992).

           Here, the number of hours for which the Roller Rebels seek compensation is reasonable,

  since they have voluntarily exercised prudent billing judgment to limit their request to the “about

  30 hours” that “district courts across this Circuit” have found to be reasonable for a motion to



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  remand. Mosher v. Davita Healthcare Partners Inc., 2016 WL 3963131, at *2 (S.D.N.Y. July 20,

  2016) (ordering a payment of $24,752.18 for 30 hours’ work and citing Samuel v. Town of

  Cheektowaga, 2010 WL 411090, at *2 (W.D.N.Y. Jan. 25, 2010) (identifying “about 30 hours”

  as a presumptively reasonable number); and MB Fin. Bank, N.A. v. 56 Walker, LLC, 2011 WL

  6338808, at *4 (S.D.N.Y. Dec. 19, 2011) (awarding fees for 30.6 hours)). Even after reviewing

  for and removing any entries that were potentially excessive or duplicative, and after removing

  the 5 paralegal hours reasonably spent finalizing and filing documents, see Hodgson Decl. ¶¶ 6-

  7, 9, 12, 15-17—the Roller Rebels’ counsel has identified 49.3 total attorney hours spent

  working on this matter “as a result of removal,” Removal Order at 5; see also Hodgson Decl. ¶

  17.10 To that number, they have applied a 39% across-the-board reduction to cap their request at

  30 hours.

           As set forth more fully above, the Roller Rebels respectfully submit that this Court could

  find that all 49.3 hours they spent on this matter were reasonable in light of the defendants’

  timing and their conduct throughout the removal process. See supra at 2-3; see also Alveranga v.

  Winston, 2007 WL 595069, at *8 (E.D.N.Y. Feb. 22, 2007) (awarding fees for 52.66 attorney

  hours on a remand motion). However, in the interest of coming to a resolution and to obviate the

  need for further dispute on this issue the Roller Rebels are willing to limit their request to 30

  hours. Even were the Roller Rebels’ total recorded hours not manifestly reasonable—and they

  are—the reductions counsel have voluntarily applied erase any doubt as to the reasonableness of




  10
    While the Roller Rebels note that the several hours counsel spent ensuring that the state court was apprised of the
  defendants’ removal action, appearing before the state court to discuss the effect of the defendants’ removal action,
  and otherwise drafting materials to be filed in the state court regarding the status of their remand motion could all
  fairly be characterized as expenses incurred “as a result of removal,” Removal Order at 5, out of an abundance of
  caution they have declined to seek fees on that time here. They have limited their fee application to time spent on
  matters explicitly before this Court. See Hodgson Decl. ¶ 7.


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  the hours for which they seek compensation.11 See Bobrow Palumbo Sales, Inc. v. Broan-Nutone,

  LLC, 549 F. Supp. 2d 274, 284 (E.D.N.Y. 2008) (finding requested fees reasonable after

  application of across-the-board reduction of 10 percent).

       III.      The Roller Rebels’ timesheet entries are sufficiently detailed.

              The Roller Rebels’ counsel have also sufficiently documented their billable hours. The

  party seeking fees must “provide accurate, detailed and contemporaneous time records.” Centro

  de la Comunidad Hispana, 2019 WL 2870721, at *6 (internal citations and quotations omitted);

  see also Kirsch v. Fleet St., Ltd., 148 F.3d 149, 173 (2d Cir. 1998) (“Applications for fee awards

  should generally be documented by contemporaneously created time records that specify, for

  each attorney, the date, the hours expended, and the nature of the work done”). Here, the Roller

  Rebels’ counsel’s detailed time entries more than satisfy this standard. See Hodgson Decl., Exs.

  2, 4, and 6.

                                                    CONCLUSION

              For the foregoing reasons, the Roller Rebels respectfully request that the Court grant this

  motion and award them $11,765.38 in attorney’s fees and $14.85 in costs, for a total of

  $11,780.23.




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    The Roller Rebels reserve the right to seek additional attorney’s fees and costs that may be incurred in connection
  with litigating their entitlement to attorney’s fees, with any other continued litigation before this Court, or with any
  appeal of this Court’s orders.

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  Dated: May 16, 2024                  Respectfully Submitted,
         New York, N.Y.
                                       NEW YORK CIVIL LIBERTIES UNION
                                           FOUNDATION

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